             Case 1:13-cv-10208-IT Document 176 Filed 11/06/15 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
JEFFREY SOLOMON,                     )
                                     )
            Plaintiff,               )
                                     )
                    v.               )        Civil Action No. 13-10208-IT
                                     )
ANNIE DOOKHAN,                       )
                                     )
            Defendant.               )
____________________________________)


                          REPORT AND RECOMMENDATION
                    TO DISMISS CASE FOR LACK OF PROSECUTION

                                        November 6, 2015


Boal, M.J.

       On February 4, 2013, Jeffrey Solomon (“Solomon”) filed a complaint against numerous

defendants alleging violations of his constitutional rights under 42 U.S.C. § 1983.1 He caused a

summons to be served on defendant Annie Dookhan (“Dookhan”) on February 21, 2013, and an

answer was due on March 14, 2013. Dkt. No. 4. Dookhan did not file a response to the

complaint. On January 28, 2014, the Court ordered all parties who had not yet answered the

complaint to do so within ten days. Dkt. No. 117. Once again, Dookhan did not file a response.

       By March 4, 2015, Solomon and all defendants, but Dookhan, had entered into a

stipulation of dismissal. Accordingly, Annie Dookhan is the only defendant remaining in the

case. On August 10, 2015, the Court ordered Solomon to file a status report indicating whether

he planned to move for default against Dookhan. Dkt. No. 174. Solomon did not file a status
1
 On July 11, 2014, the District Judge assigned to this case referred this matter to the undersigned
United States Magistrate Judge for full pretrial proceedings. Dkt. No. 142.


                                                1
          Case 1:13-cv-10208-IT Document 176 Filed 11/06/15 Page 2 of 4



report. Accordingly, on October 13, 2015, the Court ordered Solomon to show cause, by

October 26, 2015, why his action should not be dismissed for lack of prosecution as to Dookhan.

Dkt. No. 175. Yet again, Solomon did not respond to the Court’s order.

       For the reasons discussed below, this Court recommends that the District Court dismiss

the case for lack of prosecution.

I.     Dismissal For Lack Of Prosecution

       Although the First Circuit has a strong policy favoring the disposition of a case on the

merits, see Richman v. General Motors Corp., 437 F.2d 196, 199 (1st Cir. 1971), a court does

have the inherent power to both manage its own docket and dismiss a case sua sponte for lack of

prosecution. Cintron-Lorenzo v. Dept. De Asuntos Del Consumidor, 312 F.3d 522, 525 (1st Cir.

2002). See also Jones v. New York City Police Officers, No. 92-8269, 1993 WL 302632

(S.D.N.Y. Aug. 4, 1993) (dismissal appropriate where plaintiff failed to appear at two scheduling

conferences after he was warned he faced dismissal if he did not appear at the second

conference); Bal v. Kaplan Inc., No. 01-0570, 2001 WL 969053 (N.D. Cal. Aug. 20, 2001); Ntim

v. Reddy, No. 09-2032, 2009 WL 1858259 (C.D. Ill. June 24, 2009); Issa v. Gristedes

Supermarkets, No. 05-3654, 2005 WL 2605581 (S.D.N.Y. Oct. 14, 2005).

       While the Court recognizes that dismissal is a drastic remedy, other than service,

Solomon has taken no apparent steps to prosecute his case against Dookhan. Furthermore,

Solomon failed to respond to two separate Court orders requesting clarification regarding his

intention with respect to this case. Solomon was specifically ordered to show cause as to why

the action should not be dismissed for lack of prosecution, and he failed to do so. The matter has

come to a complete halt and dismissal is appropriate.




                                                2
          Case 1:13-cv-10208-IT Document 176 Filed 11/06/15 Page 3 of 4



       This Court further recommends that the dismissal for lack of prosecution be with

prejudice. A district court’s authority to dismiss a case with prejudice for want of prosecution is

necessary to prevent undue delays in the disposition of pending cases, docket congestion, and the

possibility of harassment of a defendant. Sherlock v. Stancato, C.A. No. 10-11703, 2014 WL

462961, at *4 (D. Mass. Feb. 4, 2014). Dismissal with prejudice is appropriate “when a

plaintiff’s misconduct is particularly egregious or extreme.” Ortiz-Anglada v. Ortiz-Perez, 183

F.3d 65, 66-67 (1st Cir. 1999) (citing Benjamin v. Aroostock Med. Center, Inc., 57 F.3d 101, 107

(1st Cir. 1995)). Cases dismissed with prejudice typically involve “extremely protracted inaction

(measured in years), disobedience of court orders, ignorance of warnings, contumacious conduct,

or some other aggravating circumstance.” Cosme Nieves v. Deshler, 826 F.2d 1, 2 (1st Cir.

1987). Further, a court need not exhaust milder sanctions before resorting to dismissal when a

noncompliant litigant has disregarded court orders and has been suitably forewarned. Chamorro

v. Puerto Rican Cars, Inc., 304 F.3d 1, 7 n. 4 (1st Cir. 2002). Here, Solomon has ignored

multiple court orders and has had ample opportunity to pursue his claims against Dookhan over

the course of the more than two and a half years that this case has been pending in this court.

       Accordingly, this Court recommends that the District Court dismiss this case with

prejudice for lack of prosecution.

II.    Review By District Judge

       The parties are hereby advised that under the provisions of Fed. R. Civ. P. 72(b), any

party who objects to these proposed findings and recommendations must file specific written

objections thereto with the Clerk of this Court within 14 days of the party’s receipt of this Report

and Recommendation. The written objections must specifically identify the portion of the

proposed findings, recommendations, or report to which objection is made, and the basis for such



                                                 3
          Case 1:13-cv-10208-IT Document 176 Filed 11/06/15 Page 4 of 4



objections. See Fed. R. Civ. P. 72. The parties are further advised that the United States Court

of Appeals for this Circuit has repeatedly indicated that failure to comply with Fed. R. Civ. P.

72(b) will preclude further appellate review of the District Court’s order based on this Report

and Recommendation. See Phinney v. Wentworth Douglas Hospital,199 F.3d 1 (1st Cir. 1999);

Sunview Condo. Ass’n v. Flexel Int’l, 116 F.3d 962 (1st Cir. 1997); Pagano v. Frank, 983 F.2d

343 (1st Cir.1993).

                                                       /s/ Jennifer C. Boal
                                                     JENNIFER C. BOAL
                                                     UNITED STATES MAGISTRATE JUDGE




                                                 4
